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                       Exhibit 12
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                                        LG/ Homes, Inc.
                                       Mutual Expectations
                                      New Home Consultant

            •   Uphold company core values at all times.


            •   Accomplish all mission critical tasks, general duties and responslbilitles.


            •   Be supportive of LGI personnel.


            •   Keep sales office clean and orderly.


            •   Sell homes the LGI way.


            •   Have a four door vehicle in good condition no older than 5 years (registered In the state
                In which you work).


            •   Have a cell phone with a local number.


            •   Obtain Real Estate License prior to graduating from sales tralning and going online. Real
                Estate License must be renewed as necessary to maintain active status (applies to
                Arizona, Florida, North Carolina, South Carolina, and Tennessee).


            •   Cati with any questions, comments, or concerns. Respond within 24 hours.




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                                                    LGI Homes, Inc.
r                                                  Mutual Expectations
                                                 New Home Consultant


          •   Uphold company core values.


          •   Accomplish all mission critical tasks, general duties and responsibilities.


          •   Be supportive of LGI personnel.


          •   Keep sales office clean and orderly.


          •   Sell homes the LGI way.


          •   Have a four door vehicle in good condition no older than 5 years. Vehicle must be registered in the
              state in which you work.

          •   Have a cell phone with a local number.
r
          •   Maintain a valid and active real estate license for a pplicable state (applies to Arizona, California,
              Florida, Minnesota, Nevada, North Carolina, Oregan, South Carolina, and Tennessee).


          •   Call or email with any questions, comments, or concerns. Respond within 24 hours.




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    l      ., . ~                                            LGI Homes, Inc.
    H OMef.
                                                            Mutual Expectations
                                                           New Home Consultant


           •          Uphold company core values.


           •          Accomplish all mission critical tasks, general duties and responsibilities.


           •          Be supportive of LGI personnel.


           •          Keep sales office clean and orderly.


           •          Sell homes the LGI way.


           •          Have a four door vehicle in good condition no older than 5 years. Vehicle must be registered in the slate
                      in which you work.

           •          Have a cell phone with a local number.


           •          Maintain a valid and active real estate license for applicable slate (applies to Alabama, Arizona,
                      California, Florida, Minnesota, Nevada, Oregon, South Carolina, Tennessee, and West Virginia).


           •          Coll or email with any questions, comments, or concerns. Respond within 24 hours.




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                                                        LGI Homes, Inc.
   I-I O ME S
                                                       Mutual Expectations
                                                      New Home Consultant



       •        Uphold company core values .



       •        Accomplish al l mission critical tasks, general duties and responsibilities .



       •        Be supportive of LGI personnel.



       •        Keep sales office clean and orderly .



       •        Sell homes the LGI way .



       •        Have a four door vehicle in good condition no older than 5 years. Vehicle m ust be registered in the state
                in which you work.

       •        Have a cell phone with a local n umber.



       •        Maintain a valid and active real estate license for applicable state (applies to Alabama, Arizona,
                California, Florida, M innesota, Nevada, Oregon, South Carolina, Tennessee, West Virginia, and
                Pennsylvania).



       •        Cal l or email with a ny questions, comments, or concerns. Respond within 2 4 hours.




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                                                  LGI Homes, Inc.
   HOMES
                                                 Mutual Expectations
                                                New Home Consultant


     •     Uphold company core values .



     •     Accomplish all mission critical tasks, general duties and responsibilities.



     •     Be supportive of LGI personnel.



     •     Keep sales office clean and orderly.



     •     Sell homes the LGI way.



     •     Have a four door vehicle in good condition no older than 5 years. Vehicle must be registered in the state
           in which you work.

     •     Have a cell phone with a local number.



     •     Maintain a valid and active real estate license for applicable state (applies to Alabama, Arizona,
           California, Florida, Minnesota, Nevada, Oregon, South Carolina, Tennessee, West Virginia, and
           Pennsylvania).



     •     Call or email with any questions, comments, or concerns. Respond within 24 hours.




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                                                  LGI Homes, Inc.
   HOMES
                                                 Mutual Expectations
                                                New Home Consultant



     •     Uphold company core values .



     •     Accomplish all mission critical tasks, general duties and responsibi lities.



     •     Be supportive of LGI personnel.



     •     Keep sales office clean and orderly.



     •     Sell homes the LGI way.



     •     Have a four door vehicle in good condition no older than 5 years. Vehicle must be registered in the state
           in which you work.

     •     Have a cell phone with a local number.



     •     Maintain a valid and active real estate license for applicable state (applies to Alabama, Arizona,
           California, Florida, Minnesota, Nevada, Oregon, South Carolina, Tennessee, West Virginia, and
           Pennsylvania) .



     •     Call or email with any questions, comments, or concerns. Respond within 24 hours.




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